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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                     Norfolk Division

                                                 )
SYMBOLOGY INNOVATIONS, LLC,                      )
                                                 )
                        Plaintiff,               )
v.                                               )
                                                            Civil Action No. 2:17-cv-00086
                                                 )
LEGO SYSTEMS, INC.,                              )
                                                 )
                        Defendant.               )
                                                 )
                                                 )


                         MEMORANDUM OF LAW IN SUPPORT OF
                          DEFENDANT LEGO SYSTEMS, INC.’S
                               MOTION TO TRANSFER

          Defendant LEGO Systems, Inc. respectfully submits this memorandum of law in support

of its motion to transfer venue of this action under 28 U.S.C. § 1404(a) to the District of

Connecticut.


     I.      FACTUAL BACKGROUND

          Defendant LEGO Systems, Inc. (“LSI”) is a Delaware corporation with its principal place

of business in Enfield, Connecticut. LSI and its related companies sell well-known construction

toys.     Its witnesses with knowledge about accused conduct involving advertisements and

packaging are in Connecticut or Denmark, not in Virginia.      LEGO Brand Retail, a subsidiary of

LSI, operates retail stores in the Commonwealth of Virginia as well as in thirty other states.

          Plaintiff, Symbology Innovations, LLC (“Symbology”) is a Texas limited liability

company with its principal office in Plano, Texas (Complaint ¶ 2, Dkt. No. 1) and its manager,

Leigh Rothschild, is a Florida resident. (Exhibit 1.) Upon information and belief, Symbology
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has no contact with this forum whatsoever. Instead, it is a non-practicing entity that has brought

lawsuits in various districts across the United States, including Western District of Wisconsin,

Eastern District of Texas, Northern District of Illinois, Middle and Southern Districts of Florida,

District of New Jersey, and now, Eastern District of Virginia. (Exhibit 2.) On January 3, 2017,

Symbology filed this complaint of patent infringement against LSI with respect to U.S. Patent

Nos. 7,992,773; 8,424,752; 8,936,369; and 8,936,190 (collectively, the “Asserted Patents”),

which generally concern a method, computer application, and management application for

detecting symbology associated with an object or image and subsequently processing 1 the

symbology. See id. ¶¶ 9–28. In other words, the putative invention claimed by the Asserted

Patents is related to detecting and processing symbology, not placing symbology on

advertisements or packaging.

       Nowhere in the pleading does Symbology accuse LSI of making, selling, or offering for

sale any computer application, management application, or software product that infringes the

Asserted Patents, much less doing so in the Eastern District of Virginia. At most, Symbology

appears to allege2 that LSI directly infringes the Asserted Patents by “using and/or incorporating

Quick Response Codes (“QR codes”) on printed media (e.g., advertisements, packaging)

associated with selected products (e.g., Lego Products) in a manner covered by one or more

claims of the [Asserted Patents.]” Id. at ¶¶ 32, 50, 68, 86; see also Complaint Exhibits E, F, G,

H. It follows this unspecific allegation with “[o]n information and belief, Defendant has, at least

1
 The processing entails decoding the symbology to obtain a decode string; sending the string to
one or more visual detection applications, receiving a first amount of information therefrom,
again sending the string to a remote server, receiving a second amount of information therefrom,
combining the first and second amount of information to obtain cumulative information, and
displaying cumulative information associated with the object or image.
2
 LSI describes these allegations here without waiving its rights to move to dismiss under Fed. R.
Civ. P. 12(b)(6). See Motion to Dismiss (Dkt. No. 16.)
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through internal testing, used or incorporated QR codes in advertisements and packaging.” Id. at

34–36, 52–54, 70–72, 88–90 (emphasis added). Symbology also appears to allege that LSI

indirectly infringes the Asserted Patents, merely because it “allows customers to scan QR codes

imprinted on the packaging of Defendant’s products.” Id. at ¶¶ 38–40, 56–58, 74–76, 92–94.3

          As noted above and in the Complaint, the Asserted Patents do not concern “incorporating”

QR codes on any medium; they strictly claim “using” QR codes by detecting and processing.

LSI does not make or sell any product that scans or processes QR codes. It also does not

generate or process QR codes on advertisements or packaging. Upon information and belief,

third parties, such as BeQRious, allow people to do so.           Even assuming, arguendo, that

Symbology’s speculative allegation that LSI internally tested QR codes occurred, it would have

occurred in Denmark (or possibly Enfield, Connecticut), where its packaging and marketing

personnel reside. In any event, no accused conduct occurred in Virginia. In summary, no parties,

no witnesses, no evidence, and no allegedly infringing conduct occurred in the Eastern District of

Virginia. Because Symbology could have brought this action in the District of Connecticut,

where the interest of justice and convenience of the parties and witnesses would be better served,

LSI respectfully requests the Court transfer this action to the District of Connecticut.


    II.      DISCUSSION

          Under 28 U.S.C. § 1404(a), “[f]or the convenience of parties and witnesses, in the

interest of justice, a district court may transfer any civil action to any other district or division

where it might have been brought or to any district or division to which all parties have

consented.” Thus, courts have sound discretion to transfer an action to another district and, in


3
 For the latter three patents, Symbology alleges indirect infringement by “Defendant allows
consumers to scan QR codes to be imprinted on Defendant’s products . . . .”
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doing so, consider “(1) whether the claims might have been brought in the transferee forum, and

(2) whether the interest of justice and convenience of the parties and witnesses justify transfer to

that forum.” Koh v. Microtek Int’l, Inc., 250 F. Supp. 2d 627, 630 (E.D. Va. 2003). 4


       A. The Claims Could Have Been Brought in the District of Connecticut

       This action could have been brought in the District of Connecticut. As this case involves

federal questions arising under 35 U.S.C. § 271 et seq., the District Court for the District of

Connecticut has subject matter jurisdiction. Complaint at ¶ 4. Furthermore, the District Court

for the District of Connecticut has personal jurisdiction over LSI, which resides and transacts

business in Enfield, Connecticut. 5 Id. ¶ 3. Accordingly, venue is proper in the District of

Connecticut under 28 U.S.C. § 1400(b), which states “[a]ny civil action for patent infringement

may be brought in the judicial district where the defendant resides, or where the defendant has

committed acts of infringement and has a regular and established place of business.”6 Therefore,

this action could have been brought in the District of Connecticut.

       B. The Interest of Justice and Convenience of the Parties and Witnesses Justify
          Transfer to the District of Connecticut

       If the above threshold issue for a venue transfer is satisfied, courts in the Fourth Circuit

balance additional categories of factors, including “(1) plaintiff's choice of forum, (2)

convenience of the parties, (3) witness convenience and access, and (4) the interest of justice.”

Heinz Kettler GmbH & Co. v. Razor USA, LLC, Case No. 1:10cv708, 2010 U.S. Dist. LEXIS

4
 Issues relating to venue in patent cases are governed by the regional circuit law. See Storage
Tech. Corp. v. Cisco Sys., 329 F.3d 823, 836 (Fed. Cir. 2003).
5
  Symbology’s connection with the District of Connecticut is irrelevant for personal jurisdiction
inquiries. See In re Genentech, 566 F.3d 1338, 1346 (Fed. Cir. 2009).
6
 LSI reserves its rights to challenge venue under § 1391(c). See In re TC Heartland LLC, 821
F.3d 1338 (Fed. Cir. 2016), cert. granted, 85 U.S.L.W. 3288 (U.S. Dec. 14, 2016) (No. 16-341).
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119954, at *16 (E.D. Va. Nov. 5, 2010). Here, the factors weigh in favor of a transfer to the

District of Connecticut.


    1) The Plaintiff’s choice of forum

        While the plaintiff’s choice of forum is significant, it “is not given such substantial

weight when the plaintiff selects a forum other than its home forum and the claims bear little or

no relation to the chosen forum.” Koh, 250 F. Supp. 2d at 633; see also Ion Bean Applications

S.A., v. Titan Corp., 156 F. Supp. 2d 552, 563 (E.D. Va. 2000) (“where the plaintiff's choice of

forum is a place where neither the plaintiff nor the defendant resides and where few or none of

the events giving rise to the cause of action accrued, that plaintiff's choice loses its [] status in the

court's consideration.”). Symbology selected the Eastern District of Virginia, but it does not

appear to have any connection with the District or the Commonwealth. Symbology is a Texas

limited liability company with its principal place of business in Plano, Texas. Its members and

manager are not Virginia residents. Symbology has brought suits in many other districts across

the country, including the Western District of Wisconsin, Eastern District of Texas, Northern

District of Illinois, Middle and Southern Districts of Florida, and District of New Jersey, but,

until this action was filed, not in the Eastern District of Virginia.7 (Exhibit 2.)

        In addition, Symbology’s claims bear little or no relation to this District. LSI’s conduct

accused of infringing the Asserted Patents is detecting and processing QR codes at least in

internal testing. Even assuming, arguendo, that such activity occurred, it would not have taken

place in the Eastern District of Virginia. See Quaglia Decl., ¶ 4. Witnesses with knowledge of

testing QR codes, or the lack thereof, on advertisements and packaging would be in Enfield,

7
 Symbology appears to bring batches of lawsuits—filing four or five lawsuits against different,
unrelated defendants in various and, like this one, random districts across the country. See, e.g.,
Exhibit 2 (a sampling of the first page of docket sheets from these litigations).
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Connecticut or Denmark. While LSI sells products and operates stores in this District, it bears

repeating that LSI’s products do not scan or detect QR codes and, thus, cannot infringe the

Asserted Patents. Furthermore, courts have not given substantial weight to the plaintiff’s choice

of forum when the only connection to the claim is sales activities. See Acterna, L.L.C. v. Adtech,

Inc., 129 F. Supp. 2d 936, 938 (E.D. Va. 2001) (“Federal courts are not solicitous of plaintiffs

claiming substantial weight for their forum choice where the connection with the forum is

limited to sales activity without more.”) (internal quotations omitted). Because there is no

significant contact between the Eastern District of Virginia and Symbology or its claims (indeed,

there is none), Plaintiff’s choice of forum should be given little, if any, weight.

    2) The convenience of witnesses and parties

       For the second and third categories, courts consider, inter alia, “the ease of access to

sources of proof, the cost of obtaining the attendance of witnesses, and the availability of

compulsory process.” Lycos, Inc. v. TiVo, Inc., 499 F. Supp. 2d 685, 692–93 (E.D. Va. 2007)

(internal quotations omitted). Courts then weigh the “convenience to the parties and witnesses in

litigating in either venue.” Koh, 250 F. Supp. 2d at 636. As noted above, QR codes that

Symbology alleges to exist on LSI’s advertisements or packaging would be generated from and

processed by a third party company, such as BeQRious. Upon information and belief, BeQRious

is a company based in New York City.             (Exhibit 3, http://beqrioustracker.com/about-us/.)

Consequently, any third party witness from BeQRious is more likely to be available in

Connecticut than Virginia, potentially through the subpoena power of the District Courts for the

District of Connecticut.8 LSI employees with knowledge about marketing and internal testing of

QR codes, or the lack thereof, would be located in Connecticut, if not Denmark. See Quaglia

8
 New York City is 60–80 miles from the Bridgeport and New Haven courthouses of the District
of Connecticut.
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Decl., ¶¶ 4, 6.    Relatedly, documentary and other tangible evidence regarding the alleged

infringement, such as previous products, catalogs, or other marketing material, are more likely to

be available in Connecticut. As a result, transferring this case to the District of Connecticut

would be substantially more convenient to the third party witnesses and to LSI.

       In addition, Symbology would not be significantly inconvenienced by the transfer. While

Symbology is not based in Connecticut, it is also not based in Virginia. Upon information and

belief, its members and employees, if any, are likely in Texas, and its manager and inventor of

the Asserted Patents, Leigh Rothschild, is in Florida. Whether the case proceeds in the Eastern

District of Virginia or the District of Connecticut, Symbology’s representatives and witnesses

will have to travel.     Symbology and its witnesses evidently do so for litigation purposes

frequently, as it files suits all over the country—most recently in New Jersey. Furthermore,

documentary or other tangible evidence regarding the patent validity and enforcement are

presumably available in Texas, Florida, or in public, not in Virginia. Because the convenience of

witnesses and parties would be great in Connecticut and neutral at best in Virginia, the second

and third factors favor a transfer.

    3) The interest of justice

       Finally, courts examine various factors unrelated to witness and party convenience,

including “the pendency of a related action, the court’s familiarity with applicable law, docket

conditions, access to premises that might have to be viewed, the possibility of unfair trial, the

ability to join other parties, and the possibility of harassment.” Acterna, L.L.C. v. Adtech, Inc.,

129 F. Supp. 2d 936, 940 (E.D. Va. 2001). Because this case involves a federal question, all

district courts are presumed to be equally familiar with applicable law.          See id. Docket

conditions, while relevant, are “minor consideration” in this District. Id; see also Intercarrier


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Communications, LLC v. Glympse, Inc., No. 3:12-CV-767, 2013 U.S. Dist. LEXIS 113572, 2013

WL 4083318, at *6 (E.D. Va. Aug. 12, 2013) (“In other words, this Court should not allow itself

to be overrun by a horde of Visigoths who simply want quick results.”)

           This case does not involve any basis nor a “local controversy” of the Commonwealth of

Virginia. Again, Symbology accuses LSI of infringing the Asserted Patents for its potential

internal testing of, and inducement by “allowing,” detection and processing of QR codes. These

alleged activities did not take place in Virginia. Even if sales and distribution of material with

imprinted QR codes were somehow an infringement, which LSI vigorously refutes, they were

certainly not unique to Virginia and, in fact, would have been centered in Connecticut. See Jaffé

v. LSI Corp., 874 F. Supp. 2d 499, 506 (E.D. Va. 2012) (no local interest where no

manufacturing of infringing product occurred in district and any alleged infringement was not

unique to EDVA). Because the interest of justice supports adjudication of this case in the

District of Connecticut, the last factor favors a transfer.

    III.      CONCLUSION

           For the foregoing reasons, Defendant LSI respectfully requests that this Motion to

Transfer be granted and this case be transferred to the District of Connecticut.

                                                        LEGO SYSTEMS, INC.


                                                        By           /s/
                                                               Of Counsel

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                               CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of April , 2017, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which will send a notification of such filing

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